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                                   Exhibit E

                                Proposed Order
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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF PUERTO RICO


  In re:                                                   PROMESA
                                                           Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,                        No. 17 BK 3283-LTS

           as representative of                            (Jointly Administered)

  THE COMMONWEALTH OF PUERTO RICO, et
  al.,

                          Debtors. 1


SECOND ORDER (A) GRANTING IN PART THE ONE HUNDRED FORTIETH OMNIBUS
 OBJECTION (NON-SUBSTANTIVE) OF THE COMMONWEALTH OF PUERTO RICO,
PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY, AND EMPLOYEES
  RETIREMENT SYSTEM OF THE GOVERNMENT OF THE COMMONWEALTH OF
    PUERTO RICO TO DEFICIENT CLAIMS ASSERTING INTERESTS BASED ON
 UNSPECIFIED PUERTO RICO STATUTES, (B) APPROVING FORM OF NOTICE, AND
                     (C) GRANTING RELATED RELIEF


               Upon the Notice of Presentment of Proposed Order (A) Granting in Part the One

Hundred Fortieth Omnibus Objection (Non-Substantive) of the Commonwealth of Puerto Rico,

Puerto Rico Highways and Transportation Authority, and Employees Retirement System of the



1 The Debtors in these Title III Cases, along with each Debtor’s respective Title  III case number
and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
the (i) Commonwealth of Puerto Rico (“Commonwealth”) (Bankruptcy Case No. 17-BK-3283-
LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation
(“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four Digits of Federal Tax ID:
8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No.
17-BK-3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System
of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-
3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority
(“PREPA”) (Bankruptcy Case No. 17- BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747);
and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5523-
LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy
Case numbers due to software limitations).
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                           Exhibit E Page 3 of 4


Government of the Commonwealth of Puerto Rico to Deficient Claims Asserting Interests Based

on Unspecified Puerto Rico Statutes, (B) Approving Form of Notice, and (C) Granting Related

Relief, dated October 20, 2020 (Docket Entry No. ____, the “Notice”),2 filed by the

Commonwealth of Puerto Rico (the “Commonwealth”), the Puerto Rico Highways and

Transportation Authority (“HTA”) and the Employees Retirement System of the Government of

the Commonwealth of Puerto Rico (“ERS,” and together with the Commonwealth and HTA, the

“Debtors”), by and through the Financial Oversight and Management Board for Puerto Rico (the

“Oversight Board”), as sole representative of the Debtors pursuant to Section 315(b) of the Puerto

Rico Oversight, Management, and Economic Stability Act (“PROMESA”), for entry of an order

(i) approving the Satellite Hearing Notice (as defined below) and (ii) disallowing the Claims with

Undeliverable Addresses (as defined below), as more fully set forth in the Notice; and the Court

having found it has subject matter jurisdiction over this matter pursuant to section 306 of

PROMESA; and it appearing that venue in this district is proper pursuant to section 307 of

PROMESA; and the Court having found that the relief requested is in the best interests of the

Debtors, their creditors, and other parties in interest; and the Court having found that the Debtors

provided adequate and appropriate notice under the circumstances and that no other or further

notice is required; and after due deliberation and sufficient cause appearing therefor, it is hereby:

                 ORDERED that the One Hundred Fortieth Omnibus Objection is GRANTED IN

PART as set forth herein; and it is further




2 Capitalized   terms used but not otherwise defined herein have the meanings given to them in the
Notice.

                                                  2
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                ORDERED that the each of the claims identified on Exhibit D hereto (the

“Deficient Claims with Undeliverable Addresses”) are hereby disallowed in their entirety; and it

is further

                ORDERED that the Satellite Hearing Notice is approved and shall be served on

each of the claimants associated with the Deficient Claims to Be Set for Hearing; and it is further

                ORDERED that Prime Clerk, LLC, is authorized and directed to delete the

Deficient Claims with Undeliverable Addresses from the official claims registry in the Title III

Cases; and it is further

                ORDERED that this Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, or enforcement of this Order.


Dated: ___________, 2020
San Juan, Puerto Rico

                                                                  LAURA TAYLOR SWAIN
                                                                  United States District Judge




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